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    Michael A. Cantrell                                                                Direct Dial: (501) 682-2401
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                                                     October 22, 2019

    Matthew A. Kezhaya
    Kezhaya Law PLC
    1202 North East McClain Road
    Bentonville, AR 72712
    Counsel for Satanic Temple Intervenors

             Re:     Cave v. Thurston, Case No. 4:18CV342 KGB

    Dear Matthew,

    On June 21, 2019, the Defendant served written discovery requests on the Satanic Temple
    Intervenors. On July 22, 2019, the Intervenors served egregiously deficient responses. On
    July 26, 2019, the Defendant served a detailed, 12-page letter specifically detailing the
    numerous and fundamental deficiencies of those responses. After further correspondence, I
    am now in receipt of the Intervenors’ September 25, 2019 Responses and Objections to
    Defendant’s discovery requests as well as the September 26, 2019 TST’s Responses and
    objections to Defendant’s discovery requests.

    I am writing again to confer in good faith on numerous issues because the Intervenors’
    supplemental responses are likewise woefully deficient. First, I note that—like the first
    responses—neither of the supplemental sets of responses is signed. Please note that Fed. R.
    Civ. P. 33(b)(3) and (5) provide that interrogatories must be answered under oath and signed
    by the person who makes the answers.

    Second, there are no supplemental responses for the interrogatories that were directed to
    Doug Misicko or Erika Robbins. Please note that, as a consequence, the issues described
    below pertaining to Doug Misicko and Erika Robbins have not changed.

    Third, most of the supplemental responses are deficient. Please see the numerous issues
    described below. Defendant has given your clients every possible opportunity to provide
    proper responses, patiently waiting to receive them a full three months beyond the original
    30-day response period. But with the Court’s entering of a final scheduling order and the
    need to conduct depositions of the Satanic Temple Intervenors, you will understand that
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                                      (501) 682-2007 | oag@ArkansasAG.gov
AGRutledge    AGLeslieRutledge    AGLeslieRutledge       Attorney General Leslie Rutledge   ArkansasAG   Def. Exh. E, p. 1
                                                                                                           AGRutledge
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Defendant no longer has the option of patience. Please provide appropriate responses and
produce all responsive documents as soon as possible, and in any case no later than
Tuesday, November 5, 2019. If the Intervenors fail to provide proper responses and
production by that date, the Defendant will have no choice but to seek intervention of the
Court. Thank you for your prompt attention to these matters.

Interrogatories and RFPs to the Satanic Temple

      Interrogatory No. 1 – This interrogatory seeks basic information concerning the
       corporate nature, history, and officers of the Satanic Temple. Your initial response
       refused to provide anything other than the full legal name of the Satanic Temple,
       which you state “on information and belief” as “United Federation of Churches,
       LLC.” Your supplemental response, however, refers to a different corporate entity—
       stating that “TST is given corporate structure by ‘The Satanic Temple, Inc.’ which is
       a Massachusetts non-profit corporation.” The remainder of your response is an
       objection that the request is disproportionate because the Satanic Temple “is a
       complex and international organization with local chapters dispersed through the
       world.” But please note that Interrogatory No. 1 does not request information about
       any local chapter’s leader, as such. Rather, it seeks information only about
       employees, officers, directors, managers, board members, advisory members, or
       other persons or entities holding a position of responsibility or leadership with
       respect to the Intervenor, the Satanic Temple. Of course, your identification of the
       Satanic Temple with two different corporate entities raises many questions concerning
       the identity and nature of the Satanic Temple and its personnel. Please provide all
       responsive information with respect to both of these entities.
      RFP No. 1 – This RFP requests, among other things, a copy of all current and
       former bylaws. Your supplemental response states an objection that the Satanic
       Temple’s bylaws are not relevant to whether the Ten Commandments Monument
       Display Act or Act 274 of 2017 are unconstitutional or to any of Defendants’
       defenses. That is false, but in any case, the Satanic Temple’s subjecting the
       Defendant to the power of the courts by haling it into federal court gives the
       Defendant every right to know information concerning the organization that is
       prosecuting this lawsuit and the persons holding positions therein. Further, your
       identification of the Satanic Temple with two different corporate entities raises many
       questions concerning the identity and nature of the Satanic Temple. Please provide
       all responsive documents with respect to both of these entities.
      Interrogatory No. 2 – This interrogatory seeks information concerning persons and
       entities in whose names various websites have been registered and who has
       produced, published, or maintained content on those websites. Your initial objection
       stated that the request is unduly burdensome on the grounds that domain
       registrations are a matter of public record. But these websites have been registered in
       such a way as to mask the true person or entity registering the domain, and in any

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       case former registrations are not publicly available. Further, your supplemental
       response states an objection that the information is not relevant to whether the Ten
       Commandments Monument Display Act or Act 274 of 2017 are unconstitutional or
       to any of Defendants’ defenses. That is false, but in any case, the Satanic Temple’s
       subjecting the Defendant to the power of the courts by haling it into federal court
       gives the Defendant every right to know information concerning the organization
       that is prosecuting this lawsuit and the persons holding positions therein. Please
       provide all responsive information.
      RFP No. 2 – This interrogatory seeks copies of the Satanic Temple’s budgets for
       recent years. Your supplemental response states an objection that the Satanic
       Temple’s budgets are not relevant to whether the Ten Commandments Monument
       Display Act or Act 274 of 2017 are unconstitutional or to any of Defendants’
       defenses. That is false, but in any case, the Satanic Temple’s subjecting the
       Defendant to the power of the courts by haling it into federal court gives the
       Defendant every right to know information concerning the organization that is
       prosecuting this lawsuit and the persons holding positions therein. Further, the
       information requested in this interrogatory is plainly relevant and proportional to the
       needs of the case in part because the Satanic Temple claims to be an organization
       serving essentially religious ends, and the Defendant is aware of information that it is
       rather a self-promotional scheme for certain individuals. Moreover, your
       identification of the Satanic Temple with two different corporate entities raises many
       questions concerning the Satanic Temple’s identity, nature, and cash flow. Please
       provide all responsive documents with respect to both of these entities.
      RFP No. 3 – This interrogatory seeks copies of the Satanic Temple’s state and
       federal tax returns for recent years. Your supplemental response states an objection
       that the Satanic Temple’s tax returns are not relevant to whether the Ten
       Commandments Monument Display Act or Act 274 of 2017 are unconstitutional or
       to any of Defendants’ defenses. That is false, but in any case, the Satanic Temple’s
       subjecting the Defendant to the power of the courts by haling it into federal court
       gives the Defendant every right to know information concerning the organization
       that is prosecuting this lawsuit and the persons holding positions therein. Further, the
       information requested in this interrogatory is plainly relevant and proportional to the
       needs of the case in part because the Satanic Temple has put its tax status in issue.
       Moreover, your identification of the Satanic Temple with two different corporate
       entities raises many questions concerning the Satanic Temple’s identity, nature, and
       cash flow. Please provide all responsive documents with respect to both of these
       entities.
      Interrogatory No. 4 – This interrogatory requests information concerning persons or
       entities who have received proceeds from purchases made through various websites
       associated with the Satanic Temple. Your supplemental response states an objection
       that the information is not relevant to whether the Ten Commandments Monument


                                                                                   Def. Exh. E, p. 3
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       Display Act or Act 274 of 2017 are unconstitutional or to any of Defendants’
       defenses. But you will recall that on Monday, August 5, 2019, you and I had an
       amicable, two-hour phone conference to discuss discovery issues. During that
       conference, you agreed to produce several items. You kindly provided me with a
       copy of your call notes, which included the following among your “Agreed
       productions”: “Where does the money go for TST purchases and contributions.”
       Then, after an August 26, 2019, follow-up email from me, you responded on August
       28, stating, in part, “I am holding TST to my agreement to produce the various documents
       previously identified. I am also giving you my personal word that you will receive those
       documents faster and with less effort expended on Defendant’s part through informal
       proceedings a than through an order to compel discovery” (emphasis added). But
       you have not produced any documents concerning persons or entities who have
       received proceeds from purchases made through various websites associated with the
       Satanic Temple. Therefore, your refusal to provide the requested information is
       improper. Further, the information is plainly relevant and proportional to the needs
       of the case in part because the Satanic Temple claims to be an organization serving
       essentially religious ends, and the Defendant is aware of information that it is rather
       a self-promotional scheme for certain individuals. Moreover, your identification of
       the Satanic Temple with two different corporate entities raises many questions
       concerning the Satanic Temple’s identity, nature, and cash flow. Please provide all
       responsive documents with respect to both of these entities.
      Interrogatories No. 5 and 6 and RFPs No. 5 and 6 – These interrogatories and these
       RFPs request information and documents concerning persons or entities who
       received the proceeds when contributions were made through a website that
       ostensibly raised money to transport the Baphomet statute to Arkansas. Your
       supplemental responses state an objection that the information is not relevant to
       whether the Ten Commandments Monument Display Act or Act 274 of 2017 are
       unconstitutional or to any of Defendants’ defenses. But you will recall that on
       Monday, August 5, 2019, you and I had an amicable, two-hour phone conference to
       discuss discovery issues. During that conference, you agreed to produce several
       items. You kindly provided me with a copy of your call notes, which included the
       following among your “Agreed productions”: “Where does the money go for TST
       purchases and contributions.” Then, after an August 26, 2019, follow-up email from
       me, you responded on August 28, stating, in part, “I am holding TST to my agreement
       to produce the various documents previously identified. I am also giving you my personal word
       that you will receive those documents faster and with less effort expended on Defendant’s
       part through informal proceedings a than through an order to compel discovery”
       (emphasis added). But you have not produced any documents concerning persons or
       entities who received the proceeds from the Baphomet fundraising page. Therefore,
       your refusal to provide any information is improper. Further, the requested
       information in this interrogatory is plainly relevant and proportional to the needs of


                                                                                       Def. Exh. E, p. 4
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       the case in part because the Satanic Temple claims to be an organization serving
       essentially religious ends, and the Defendant is aware of information that it is rather
       a self-promotional scheme for certain individuals. Moreover, your identification of
       the Satanic Temple with two different corporate entities raises many questions
       concerning the Satanic Temple’s identity, nature, and cash flow. Please provide all
       responsive documents with respect to both of these entities.
      Interrogatory No. 7 and RFP No. 7 – This interrogatory and RFP request
       information and documents concerning the ownership, design, and modifications of
       the Baphomet monument. Neither your initial nor your supplemental responses to
       Interrogatory No. 7 identify persons or entities with an ownership interest in the
       statue. Further, your supplemental responses state that you do not object to providing
       information about modifications that have been made to the statute, but states that
       the information was not available inside the time provided for a response. Please
       further supplement your response with information concerning modifications to the
       statute at this time. Your supplemental responses state a generic objection on
       grounds of relevance and proportionality, without providing any specific reason for
       your objection. This is improper under Eastern District of Arkansas Local Rule
       33.1(b), which provides, in part, “It is not sufficient to state that the interrogatory or
       request is burdensome, improper, or not relevant. The ground or grounds for the
       objection must be stated with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The
       grounds for objecting to an interrogatory must be stated with specificity.”); Fed. R.
       Civ. P. 34(b)(2)(B) (“[T]he response must . . . state with specificity the grounds for
       objecting to the request.”). The information requested in these interrogatories and the
       documents requested in these RFPs are plainly relevant and proportional to the
       needs of the case, in part because the Satanic Temple must own the Baphomet
       monument in order to be in any position to donate it for placement on the Arkansas
       State Capitol grounds and in part because the design and medication of any
       monument placed on the Arkansas State Capitol grounds is a matter of obvious
       concern. Please provide all responsive information and documents.
      Interrogatory No. 9 – This interrogatory seeks information concerning financial
       relationships between the Satanic Temple and various individuals and entities. Your
       supplemental response states an objection that the information is not relevant to
       whether the Ten Commandments Monument Display Act or Act 274 of 2017 are
       unconstitutional or to any of Defendants’ defenses. That is false, but in any case, the
       Satanic Temple’s subjecting the Defendant to the power of the courts by haling it
       into federal court gives the Defendant every right to know information concerning
       the organization that is prosecuting this lawsuit and the persons holding positions
       therein. Further, you have not otherwise produced any information or documents
       concerning persons or entities who have received proceeds from purchases or
       contributions made through various websites associated with the Satanic Temple.
       Moreover, the information requested in this interrogatory is plainly relevant and


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       proportional to the needs of the case in part because the Satanic Temple claims to be
       an organization serving essentially religious ends, and the Defendant is aware of
       information that it is rather a self-promotional scheme for certain individuals.
       Moreover, your identification of the Satanic Temple with two different corporate
       entities raises many questions concerning the Satanic Temple’s identity, nature, and
       cash flow. Please provide all responsive documents with respect to both of these
       entities.
      Interrogatory No. 10 – This interrogatory seeks basic information concerning other
       litigation to which the Satanic Temple has been a party. Your supplemental response
       states an objection that information concerning the Satanic Temple’s other litigation
       is not relevant to whether the Ten Commandments Monument Display Act or Act
       274 of 2017 are unconstitutional or to any of Defendants’ defenses. That is false, but
       in any case, the Satanic Temple’s subjecting the Defendant to the power of the courts
       by haling it into federal court gives the Defendant every right to know information
       concerning the organization that is prosecuting this lawsuit and the persons holding
       positions therein. Further, the information requested in this interrogatory is plainly
       relevant and proportional to the needs of the case in part because the Satanic Temple
       claims to be an organization serving essentially religious ends, and the Defendant is
       aware of information that it is rather a self-promotional scheme for certain
       individuals. Moreover, your identification of the Satanic Temple with two different
       corporate entities raises many questions concerning the Satanic Temple’s identity
       and nature. Please provide all responsive documents with respect to both of these
       entities.

Interrogatories and RFPs to Doug Misicko

      Interrogatory No. 3 – This interrogatory seeks basic information concerning lawsuits
       or other legal proceedings in which you have been involved. You have stated a
       generic objection on grounds of relevance and proportionality, without providing any
       specific reason for your objection. This is improper under Eastern District of
       Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient to state that
       the interrogatory or request is burdensome, improper, or not relevant. The ground or
       grounds for the objection must be stated with particularity.” See Fed. R. Civ. P.
       33(b)(4) (“The grounds for objecting to an interrogatory must be stated with
       specificity.”). The information requested in this interrogatory is plainly relevant and
       proportional to the needs of the case because you are a party to this case. Further,
       you object on the basis that providing this information is an undue burden because
       “it is all publicly available.” But the purported public availability of this information
       is no excuse for failing to provide it. Unlike the Defendant, you know the
       jurisdictions in which you have been involved in legal proceedings. You further
       object that the interrogatory exceeds the 25-interrogatory limit of Fed. R. Civ. P. 33.



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       This is incorrect, as this is only Interrogatory No. 3 addressed to you, Douglas
       Misicko. Please provide all responsive information.
      Interrogatories No. 4 and 5 – These interrogatories seek identification of everything
       that the Ten Commandments Monument Display Act, the Ten Commandments
       monument, or any state official or entity has coerced you to do, or any burden or
       benefit that have been made conditional upon your obedience to the Ten
       Commandments. You have stated a generic objections on grounds of relevance and
       proportionality, without providing any specific reason for your objections. This is
       improper under Eastern District of Arkansas Local Rule 33.1(b), which provides, in
       part, “It is not sufficient to state that the interrogatory or request is burdensome,
       improper, or not relevant. The ground or grounds for the objection must be stated
       with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The grounds for objecting to an
       interrogatory must be stated with specificity.”). The information requested in this
       interrogatory is plainly relevant and proportional to the needs of the case because
       you have claimed that the placement of the Ten Commandments monument on the
       Arkansas State Capitol grounds has injured you in some way. Further, you object on
       the basis that providing this information is an undue burden because “it is all publicly
       available.” But this information is not publicly available. You further object that
       these interrogatories exceed the 25-interrogatory limit of Fed. R. Civ. P. 33. This is
       incorrect, as these are only Interrogatories No. 4 and No. 5 addressed to you,
       Douglas Misicko. Please provide all responsive information.
      Interrogatory No. 6 and RFP No. 3 – This interrogatory seeks identification of any
       treatment, therapy, or counseling that you have sought as a result of the Ten
       Commandments Monument Display Act, the Ten Commandments monument, or
       any action or omission of any Arkansas state official. You have stated a generic
       objection on grounds of relevance and proportionality, without providing any
       specific reason for your objection. This is improper under Eastern District of
       Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient to state that
       the interrogatory or request is burdensome, improper, or not relevant. The ground or
       grounds for the objection must be stated with particularity.” See Fed. R. Civ. P.
       33(b)(4) (“The grounds for objecting to an interrogatory must be stated with
       specificity.”); Fed. R. Civ. P. 34(b)(2)(B) (“[T]he response must . . . state with
       specificity the grounds for objecting to the request.”). The information requested in
       this interrogatory is plainly relevant and proportional to the needs of the case because
       you claim to have been offended and injured by the placement of the Ten
       Commandments monument on the Arkansas State Capitol grounds. You further
       object that the interrogatory exceeds the 25-interrogatory limit of Fed. R. Civ. P. 33.
       This is incorrect, as this is only Interrogatory No. 6 addressed to you, Douglas
       Misicko. Please provide all responsive information. As for RFP No. 3, you have not
       attempted to provide a response of any kind or produce any documents in response
       thereto. You have also failed to state whether any responsive materials are being


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       withheld on the basis of your objection, as required. Fed. R. Civ. P. 34(b)(2)(C).
       Please provide all responsive information and documents.

Interrogatories and RFPs to Erika Robbins

      Interrogatory No. 1 – This interrogatory seeks information concerning your visits to
       the Arkansas State Capitol grounds. You have stated a generic objection on grounds
       of undue burden, without providing any specific reason for your objection. This is
       improper under Eastern District of Arkansas Local Rule 33.1(b), which provides, in
       part, “It is not sufficient to state that the interrogatory or request is burdensome,
       improper, or not relevant. The ground or grounds for the objection must be stated
       with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The grounds for objecting to an
       interrogatory must be stated with specificity.”). The information requested in this
       interrogatory is plainly not unduly burdensome. You further object that the
       interrogatory exceeds the 25-interrogatory limit of Fed. R. Civ. P. 33. This is
       incorrect, as this is only Interrogatory No. 1 addressed to you, Erika Robbins. Please
       provide all responsive information.
      Interrogatory No. 2 – This interrogatory seeks basic information concerning your
       identity and social media presence. You have stated a generic objection on grounds
       of relevance, proportionality, and undue burden, without providing any specific
       reason for your objection. This is improper under Eastern District of Arkansas Local
       Rule 33.1(b), which provides, in part, “It is not sufficient to state that the
       interrogatory or request is burdensome, improper, or not relevant. The ground or
       grounds for the objection must be stated with particularity.” See Fed. R. Civ. P.
       33(b)(4) (“The grounds for objecting to an interrogatory must be stated with
       specificity.”). The information requested in this interrogatory is plainly not
       irrelevant, disproportionate, or unduly burdensome. You further object that the
       interrogatory exceeds the 25-interrogatory limit of Fed. R. Civ. P. 33. This is
       incorrect, as this is only Interrogatory No. 2 addressed to you, Erika Robbins. Please
       provide all responsive information.
      RFP No. 1 – This RFP seeks copies of items containing information pertaining to
       your opinions on or engagement with the Ten Commandments monument and
       related matters. You have stated a generic objection on grounds of undue burden,
       without providing any specific reason for your objection. This is improper. Fed. R.
       Civ. P. 34(b)(2)(B) (“[T]he response must . . . state with specificity the grounds for
       objecting to the request”); Eastern District of Arkansas Local Rule 33.1(b) (“It is not
       sufficient to state that the interrogatory or request is burdensome, improper, or not
       relevant. The ground or grounds for the objection must be stated with
       particularity.”). You have also failed to state whether any responsive materials are
       being withheld on the basis of your objection, as required. Fed. R. Civ. P.
       34(b)(2)(C). Please provide all responsive documents.



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      Interrogatories No. 4 and 5 – These interrogatories seek identification of everything
       that the Ten Commandments Monument Display Act, the Ten Commandments
       monument, or any state official or entity has coerced you to do, or any burden or
       benefit that have been made conditional upon your obedience to the Ten
       Commandments. You have stated a generic objections on grounds of undue burden,
       without providing any specific reason for your objection. This is improper under
       Eastern District of Arkansas Local Rule 33.1(b), which provides, in part, “It is not
       sufficient to state that the interrogatory or request is burdensome, improper, or not
       relevant. The ground or grounds for the objection must be stated with particularity.”
       See Fed. R. Civ. P. 33(b)(4) (“The grounds for objecting to an interrogatory must be
       stated with specificity.”). The information requested in this interrogatory is plainly
       not unduly burdensome because you have claimed that the placement of the Ten
       Commandments monument on the Arkansas State Capitol grounds has injured you
       in some way. Further, you object on the basis that providing this information is an
       undue burden because “it is all publicly available.” But this information is not
       publicly available. You further object that the interrogatory exceeds the 25-
       interrogatory limit of Fed. R. Civ. P. 33. This is incorrect, as these are only
       Interrogatories No. 4 and 5 addressed to you, Erika Robbins. Please provide all
       responsive information.
      Interrogatory No. 6 and RFP No. 3 – This interrogatory and RFP seeks information
       and documents pertaining to any treatment that you may have sought as a result of
       the Ten Commandments and related matters. You have stated a generic objection on
       grounds of relevance and proportionality, without providing any specific reason for
       your objection. This is improper under Eastern District of Arkansas Local Rule
       33.1(b), which provides, in part, “It is not sufficient to state that the interrogatory or
       request is burdensome, improper, or not relevant. The ground or grounds for the
       objection must be stated with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The
       grounds for objecting to an interrogatory must be stated with specificity.”). The
       information requested in this interrogatory is plainly not irrelevant or
       disproportionate, as you claim to have been offended and injured by the Ten
       Commandments monument. You further object that the interrogatory exceeds the
       25-interrogatory limit of Fed. R. Civ. P. 33. This is incorrect, as this is only
       Interrogatory No.6 addressed to you, Erika Robbins. You further object on grounds
       of psychotherapist-patient privilege. But your objection on privilege grounds is
       deficient under Fed. R. Civ. P. 26(b)(5)(ii) for failure to “describe the nature of the
       documents, communications, or tangible things not produced or disclosed—and do
       so in a manner that . . . will enable other parties to assess the claim.” You have also
       failed to state whether any responsive materials are being withheld on the basis of
       your objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all responsive
       information and documents.



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      Interrogatory No. 7 – This interrogatory seeks identification of the requirements that
       you had to meet to become a member of the Satanic Temple. You have stated a
       generic objection on grounds of vagueness and undue burden, without providing any
       specific reason for your objection. This is improper under Eastern District of
       Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient to state that
       the interrogatory or request is burdensome, improper, or not relevant. The ground or
       grounds for the objection must be stated with particularity.” See Fed. R. Civ. P.
       33(b)(4) (“The grounds for objecting to an interrogatory must be stated with
       specificity.”). The information requested in this interrogatory is plainly not vague or
       unduly burdensome, as you have personal knowledge of the requirements that you
       had to meet to become a member of the Satanic Temple. Please provide all
       responsive information.

                                            Respectfully,

                                            Michael A. Cantrell
                                            Assistant Solicitor General

                               CERTIFICATE OF SERVICE

       I, Michael A. Cantrell, certify that on October 22, 2019, I served the foregoing on the
following:

Matthew Kezhaya
matt@kezhaya.law

                                               /s/ Michael A. Cantrell
                                               Michael A. Cantrell




                                                                                   Def. Exh. E, p. 10
